        Case 1:25-cv-00511-CRC           Document 2        Filed 02/20/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,

                Plaintiff,

        v.                                            Case No. 1:25-cv-00511

 U.S. DOGE SERVICE, et al.,                           HEARING REQUESTED

                Defendants.


               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff Citizens for Responsibility and Ethics in Washington respectfully moves for a

preliminary injunction in this Freedom of Information Act (“FOIA”) and Federal Records Act

(“FRA”) suit against the United States DOGE Service (“USDS”); John Doe, in their official

capacity as Administrator of the U.S. DOGE Service; Elon Musk, in his official capacity; the

Office of Management and Budget (“OMB”); and Russell Vought, in his official capacity as

Director of OMB. The requested injunction would require Defendants to (1) fully process

CREW’s FOIA requests and produce all non-exempt records along with a Vaughn index

sufficiently in advance of the March 14, 2025 expiration date for the continuing resolution

funding the government, no later than March 10, 2025, and (2) preserve all potentially

responsive records pending final resolution of the case. In support of this motion, Plaintiff

submits the attached memorandum of points and authorities, the Declaration of Jonathan Maier

and accompanying exhibits, and a proposed order.

       Per Local Civil Rule 65.1(c) and (d), Plaintiff respectfully requests that the Court order

Defendant file its opposition to this motion by no later than February 27, 2025, and set a hearing
        Case 1:25-cv-00511-CRC            Document 2        Filed 02/20/25       Page 2 of 2




at the earliest available date not later than March 5, 2025. As explained in the accompanying

memorandum, expedition is essential to prevent imminent irreparable harm to Plaintiff caused by

Defendants’ ongoing failure to process, release, and commit to preserving records in violation of

FOIA and the FRA.

       Plaintiff’s counsel attempted to confer in good faith with Defendants’ counsel prior to

filing this motion by contacting relevant officials at the Department of Justice. As of the time of

this filing, those officials have not relayed their position on this motion.

       Dated: February 20, 2025                        Respectfully submitted,

                                                       /s/ Nikhel S. Sus______                   .
                                                       Nikhel S. Sus (D.C. Bar No. 1017937)
                                                       Jonathan E. Maier* (D.C. Bar No. 1013857)
                                                       Donald K. Sherman* (D.C. Bar No.
                                                       90031810)
                                                       CITIZENS FOR RESPONSIBILITY AND
                                                       ETHICS IN WASHINGTON
                                                       P.O. Box 14596
                                                       Washington, D.C. 20044
                                                       Telephone: (202) 408-5565
                                                       Fax: (202) 588-5020
                                                       jmaier@citizensforethics.org
                                                       nsus@citizensforethics.org
                                                       dsherman@citizensforethics.org

                                                       Counsel for Plaintiff

                                                       *Pro hac vice application forthcoming




                                                  2
